Case 2:04-CV-02001-SHI\/|-tmp Document 37 Filed 07/15/05 Page 1 of 4 Page|D 53

gin t
IN THE UNITED sTATES DISTRICT cor§_rgp BY___
FoR THE wEsTERN DISTRICT oF TENNEs'sEE

 

wEsTERN DIVISION 05 JUL \5 ph {,: 15
AMERICAN comich IAL BARGE M lmUi‘§Sg%m§@gTumM
LINE, LLc, w/bé? T.*`$,MEMPHS
Plaintiff,
vs. No. 04-2001-MaP

FLEISCHMANN'S YEAST, INC., ET AL.,
Defendant/Third Party Plaintiff,

VS.

MEMPHIS MARINE SERVICE, INC. ,

Third Party Defendant.

 

ORDER AMENDING SCHEDULE

 

Pursuant to the May 25, 2005, joint motion filed by the
parties to reset the trial and extend deadlines in this matter,
the court held a status conference on June 30, 2005. Attending
on behalf of the plaintiff was Frank Dantone. Participating on
behalf of the defendants were Scott Peatross, William Bateman,
and Allan Thorp. For good cause shown, the court grants the
motion and amends the schedule as follows:

l. The deadline for completing private mediation is

October l, 2005.
2. The deadline for completing discovery is November l,

2005.

nwdmmmmemwmonmemwmsmmwco Mma
with Ru|e bd and/or TS-(a) FRCP on _ _j__£i_" __..§

Case 2:04-CV-02001-SHI\/|-tmp Document 37 Filed 07/15/05 Page 2 of 4 Page|D 54

3. The deadline for filing potentially dispositive motions
is December 2, 2005.

4. The parties will submit a proposed joint pretrial order
by 4:30 p.m. on February 3, 2006.

5. A pretrial conference will be held on Friday, February
10, 2006, at 10:30 a.m.

6. The non-jury trial is reset to Tuesday, February 21,
2006, at 9:30 a.m. and is expected to take 5 days.

Absent good cause, the amended schedule set by this order

will not be modified or extended.

So ORDERED this /S?k day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CV-02001 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

ESSEE

 

William C. Bateman

BATEMAN GIBSON & CH[LDERS
65 Union Ave.

Ste. 1 0 1 0

1\/1emphis7 TN 38103

Scott B. Peatross

BATEMAN GIBSON & CH[LDERS
65 Union Ave.

Ste. 1 0 1 0

1\/1emphis7 TN 38103

Melissa A. Maravich

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103--221

Ernest Lane

THE LANE LAW FIRM
613 Main St.

Greenville7 MS 38702--185

Edward D. Lamar
HENDERSON DANTONE
P.O. BOX 778

Greenville7 MS 38702--077

Frank J. Dantone
HENDERSON DANTONE
P.O. BOX 778

Greenville7 MS 38702--077

Allan B. Thorp

THORP FONES & FRULLA, PLC
5668 S. Rex Rd.

Second Floor

1\/1emphis7 TN 38119

Case 2:04-CV-02001-SHI\/|-tmp Document 37 Filed 07/15/05 Page 4 of 4 Page|D 56

Honorable Samuel Mays
US DISTRICT COURT

